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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                     :
AKHMED GADZHIEVICH BILALOV,                                          :
                                                                     :
                                              Plaintiff,             :
                                                                     :
                           -against-                                 :
                                                                     : 1:20-cv-09153-AT-KNF
HERMAN GREF, SBERBANK CIB USA, INC., :
SBERBANK OF RUSSIA PJSC, and DOES 1- :
100 inclusive,                                                       :
                                                                     :
                                              Defendants.            :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

  REPLY MEMORANDUM OF LAW IN SUPPORT OF SBERBANK CIB USA, INC.’S
        MOTION TO DISMISS THE SECOND AMENDED COMPLAINT




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        Defendant Sberbank CIB USA, Inc. (“SCIB”) respectfully submits this reply in further

support of its motion to dismiss the Second Amended Complaint (the “SAC”), ECF No. 51.

                               PRELIMINARY STATEMENT

        Despite two amended complaints and multiple rounds of pre-motion letters that previewed

SCIB’s dismissal arguments, Plaintiff offers nothing new that could possibly surmount the clear

bars to his claims set forth in SCIB’s Motion to Dismiss the Second Amended Complaint, ECF 62

(the “Opening Brief” or “Mem.”). Initially, Plaintiff’s Opposition (the “Opp.”), ECF 67, fails to

identify a single well-pleaded factual allegation as to SCIB and, therefore, fails even the liberal

pleading standards of Rule 8(a). See infra, at Section I. The Opposition also fails to identify any

applicable tolling doctrine that would salvage Plaintiff’s RICO, fraud, conversion, and unjust

enrichment claims, each of which he concedes accrued no later than 2013. See infra, at Section II.

Moreover, the SAC, which merely recites in boilerplate fashion the elements of the causes of action

it asserts, fails across the board to state a claim upon which relief can be granted. See infra, at

Section III. Any further amendment would be futile, and this ten-year-old Russian-centric dispute

should be dismissed with prejudice.

                                         ARGUMENT

   I.      The SAC Alleges No Wrongdoing By SCIB

        SCIB showed that the SAC falls short of even the liberal pleading standards of Rule 8(a)

because, as to SCIB, the SAC offers legal conclusions and no facts. See Mem. at 6-8. In response,

Plaintiff simply repeats the same labels and conclusory allegations set forth in the SAC:

               Plaintiff has sufficiently pled wrong doing [sic] by Defendant
               Sberbank SCIB. Plaintiff has pled that Defendants Sberbank and
               Gref laundered money through Sberabnk [sic] SCIB. Furthermore,
               Plaintiff has alleged that Sberabank [sic] SCIB was an insider, and
               was instrumental in the conspiracy.



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Opp. at 27. Contrary to Plaintiff’s claim, these bare allegations are insufficient to survive a motion

to dismiss. The SAC does not contain any factual allegations detailing how SCIB participated or

was “instrumental” in the alleged conspiracy. See Willey v. J.P. Morgan Chase, N.A., 2009 U.S.

Dist. LEXIS 57826, at *10-11 (S.D.N.Y. July 7, 2009) (dismissing claims unsupported by factual

allegations; “ipse dixit pleading is insufficient” under Iqbal). Nor does the SAC explain how SCIB

was used to launder the proceeds of the wrong, which Plaintiff alleges on information and belief

without any statement of facts creating a plausible inference that any money laundering actually

occurred. See SAC ¶ 119; see also Evergreen E. Coop. v. Bottomley Evergreens & Farms, Inc.,

2021 U.S. Dist. LEXIS 58305, at *11 (S.D.N.Y. Mar. 26, 2021) (“[A]llegations on information

and belief … will be sufficient to support a claim for relief only when the factual matter pled

supports a plausible inference of culpability.”).

       The only other reference to SCIB in the entire thirty-page Opposition relates to Plaintiff’s

conclusory allegation that Sberbank of Russia operates in the United States and New York through

SCIB. See Opp. at 12. As above, there is no factual support for this claim, and the fact that SCIB

and Sberbank of Russia are in the same corporate family does not make one liable for the alleged

misconduct of the other. See Mem. at 8 (citing Metlife Sec., Inc. v. Bedford, 456 F. Supp. 2d 468,

472 (S.D.N.Y. 2006)). It is evident that SCIB, which was not named as a defendant in the first

iteration of Plaintiff’s complaint, was added to the caption in a misguided attempt to localize this

Russian dispute to New York for jurisdictional purposes. But this tactic does not solve Plaintiff’s

jurisdictional shortcomings, see Section II of the Motion to Dismiss of Defendants Sberbank and

Gref, ECF 59, nor does it excuse Plaintiff’s abject failure to set forth any substantive allegations

of specific conduct as to SCIB. See Mem. at 6-8. The SAC’s improper reliance on group

pleading—which the Opposition does not address—cannot salvage Plaintiff’s claims. See id. at



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7-8. Where, as here, a defendant is named in the caption but the complaint is devoid of any

particularized allegations as to that defendant, dismissal is required. See id.

   II.      Plaintiff’s Claims are Time-Barred

         SCIB showed in its Opening Brief that Bilalov’s RICO claims and his claims for fraud,

conspiracy to commit fraud, conversion, and unjust enrichment accrued no later than March 2013

when, according to the SAC, Bilalov and his brother were coerced into selling the remainder of

their putative shares of Krasnaya Polyana. See SAC ¶ 87; Mem. at 9-10.

         The six-year statute of limitations for fraud and conspiracy to commit fraud accordingly

expired no later than March 2019, and the three-year statutes of limitations for conversion and

unjust enrichment expired no later than March 2016. See Mem. at 9-10. Plaintiff does not dispute

these dates in the Opposition. SCIB also showed that Plaintiff’s claims cannot be saved by the

doctrines of equitable tolling or equitable estoppel, including because the SAC does not allege any

concealment by Defendants and Plaintiff did not diligently pursue his claims, opting instead to

wait years before attempting to “back-channel” members of Defendants’ inner circle. See id. at

11-13. Plaintiff has no response. See Felske v. Hirschmann, 2012 U.S. Dist. LEXIS 29893, at *9

(S.D.N.Y. Mar. 2, 2012) (“A plaintiff effectively concedes a defendant’s arguments by his failure

to respond to them.”). These claims should be dismissed as time-barred.

         Plaintiff’s RICO claims are also time-barred because the four-year statute of limitations

applicable to civil RICO claims expired no later than March 2017. See Mem. at 9 (citing

Rosenshein v. Meshel, 688 Fed. App’x 60, 62-63 (2d Cir. 2017)). Plaintiff counters that the

separate accrual rule caused a new four-year limitations period to accrue in August 2019 when the

last predicate act, Hobbs Act extortion, allegedly occurred. See Opp. at 15-16. As shown in the

Opening Brief, however, Plaintiff fails to plead the essential elements of a Hobbs Act extortion



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claim, see Mem. at 20-21, so this alleged predicate cannot trigger a new limitations period.

Plaintiff also ignores the fact that later-in-time predicates that simply reinforce a prior RICO injury

do not reset the clock. See id. at 13-15 (citing Zahl v. Kosovsky, 2011 U.S. Dist. LEXIS 22028, at

*39-40 (S.D.N.Y. Mar. 3, 2011) (noting the Supreme Court’s rejection of the “last predicate act

rule”; only new and independent RICO injuries, as opposed to new predicates, implicate the

separate accrual rule)). If anything, the Opposition further confirms that the alleged Hobbs Act

injuries are derivative of the alleged misappropriation of Bilalov’s shares six years earlier:

               The Hobbs Act Extortion acts caused injury to Plaintiff in that it
               deprived Plaintiff from exercising his rights and allowed Russian
               Defendants to retain Plaintiff’s property. Furthermore, Defendants
               threatened Plaintiff with physical violence in furtherance of their
               plan to deprive Plaintiff of his ownership interest of Krasnaya
               Polyana.

Opp. at 15 (emphases added).

       As shown in SCIB’s Opening Brief, threats that relate back to the underlying RICO injury,

as they do here, cannot form the basis of a new and independent injury for purposes of the separate

accrual rule. See Mem. at 14-15 (citing Tech. Opportunity Grp., Ltd. v. BCN Telecom, Inc., 2019

U.S. Dist. LEXIS 164387, at *22 (S.D.N.Y. Sept. 23, 2019) (“The fact that [defendant] allegedly

made additional threats to continue exactly the same [RICO] scheme does not restart the clock on

the statute of limitations.”); Simmons v. Reich, 2020 U.S. Dist. LEXIS 223479, at *31 (E.D.N.Y.

Nov. 30, 2020) (“[T]he separate accrual rule does not apply where the complaint alleges new RICO

violations that merely reinforce the same injury.” (internal quotations and citation omitted)

(emphasis in original))). Plaintiff does not address these cases in his Opposition or otherwise

explain how the alleged threats, which, by his own admission, were made “in furtherance of” the

alleged misappropriation of his Krasnaya Polyana shares, are new and independent injuries. See




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Opp. at 15; Pl.’s Pre-Mot. Ltr., ECF 56, at 2. The separate accrual rule does not apply here, and

Plaintiff’s RICO claims expired no later than March 2017.

           Finally, Plaintiff argues that his abuse of process claim is timely because the one-year

statute of limitations, which Plaintiff acknowledges would have expired in October 2020, was

tolled until November 3, 20201 by a series of COVID-19-related Executive Orders signed by the

Governor of the State of New York. See Opp. at 16. Whether the “Executive Order’s tolling on

the ground that state courts were closed applies [to federal courts], where courts were open,” is not

fully resolved. Citi Connect, LLC v. Local Union No. 3, IBEW, 2020 U.S. Dist. LEXIS 185796,

at *10 (S.D.N.Y. Oct. 7, 2020).2 Cf. Lopez-Motherway v. City of Long Beach, 2021 U.S. Dist.

LEXIS 48597, at *20-21 (E.D.N.Y. Mar. 15, 2021) (questioning the executive’s authority to issue

an order tolling a statute of limitations under New York Executive Law § 29-a). Even assuming,

arguendo, that the Executive Orders tolled the limitations period for Plaintiff’s abuse of process

claim, this claim remains deficient as a matter of law for a host of other reasons. See infra, at

Section III.C.

    III.      The SAC Fails to State a Claim

           SCIB showed that the SAC fails to state a claim as a matter of law, including because the

claims sounding in fraud, which Plaintiff asserts against all Defendants without specification, are

not pled with the requisite particularity. See Mem. at 16-17. Plaintiff acknowledges that where,

as here, multiple defendants are allegedly involved in a claim sounding in fraud, “it is especially

important that the fraud be particularized as to each one of them,” Opp. at 22, but the SAC falls



1
 Plaintiff commenced this lawsuit on November 2, 2020. See Opp. at 16.
2
 In Citi Connect, the Court borrowed the “arguably tolled” state statute of limitations in part
because there would be no prejudice to defendant “since [plaintiff] loses on the merits.” 2020 U.S.
Dist. LEXIS 185796, at *11.

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far short of this standard, opting instead to lump Defendants together in conclusory fashion. See,

e.g., SAC ¶¶ 30, 102, 196-199.

       Left grasping at straws, Plaintiff argues that because Defendants are “insiders,” the SAC

does not need to specify which Defendants made the alleged misrepresentations. See Opp. at 22

(citing Asdourian v. Konstantin, 77 F. Supp. 2d 349, 354 (E.D.N.Y. 1999)). Initially, Plaintiff’s

argument that Defendants are insiders is wholly circular: “In the instant case, Plaintiff has pled

that the Defendants are insiders, therefore Sberbank US and Sberbank of Russia are co-

conspirators and insiders.” Id. In any event, even if Defendants are “insiders,” SCIB showed in

its Opening Brief that bare allegations of a defendant’s affiliation with entities allegedly

committing fraudulent acts is insufficient under Rule 9(b). See Mem. at 17 (citing Ouaknine v.

MacFarlane, 897 F.2d 75, 80 (2d Cir. 1990) (holding that, without more, the allegation that one

defendant was an affiliate of another defendant is insufficient to link the defendant to the

misstatement)); see also Deluca v. GPB Auto. Portfolio, LP, 2021 U.S. Dist. LEXIS 234443, at

*34 (S.D.N.Y. Dec. 13, 2020) (“[S]imply alleging that entities are ‘insiders or affiliates’ … is not

enough to satisfy Rule 9(b) ….”). Rather, a complaint must specify, at a minimum, that each

defendant knew of or participated in the alleged fraud. See Mills v. Polar Molecular Corp., 12

F.3d 1170, 1175 (2d Cir. 1993) (“[P]laintiffs also had to allege that the [defendants] personally

knew of, or participated in, the fraud.” (emphasis in original)). Here, by contrast, the SAC does

not (and cannot) allege any non-conclusory facts describing SCIB’s role in or knowledge of the

alleged scheme to misappropriate Bilalov’s putative shares. The claims sounding in fraud (RICO,

fraud, conspiracy to commit fraud, conversion and unjust enrichment) fail for this reason alone.

           A.      The SAC Fails to State a RICO Claim
       SCIB showed that Plaintiff’s RICO claims were further deficient and require dismissal due

to the SAC’s failure to allege (i) a domestic injury to business or property, (ii) an acquisition or

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investment injury, (iii) a pattern of racketeering, and (iv) a RICO enterprise. See Mem. at 18-24

(citing W. 79th St. Corp. v. Congregation Kahl Minchas Chinuch, 2004 U.S. Dist. LEXIS 19501,

at *17 (S.D.N.Y. Sept. 29, 2004) (“[C]ourts must be wary of putative civil RICO claims that are

nothing more than sheep masquerading in wolves’ clothing.”)). Nothing in Plaintiff’s Opposition

compels a different result.

               1.      The SAC Fails to Allege a Domestic Injury to Business or Property
       Plaintiff claims that he has adequately alleged a domestic injury to business or property, as

required under RJR Nabisco, Inc. v. European Cmty., 136 S. Ct. 2090 (2016), comprising

reputational damages, loss of employment opportunities, and threats that discouraged him from

pursuing his putative claims against Defendants. See Opp. at 19-21. But “reputational harm is not

a cognizable injury under RICO.” Santana v. Adler, 2018 U.S. Dist. LEXIS 51401, at *20

(S.D.N.Y. Mar. 26, 2018).3 Nor is a generalized claim of lost employment or employment

opportunities, as is alleged here without any supporting detail. See SAC ¶ 178; Mackin v.

Auberger, 59 F. Supp. 3d 528, 558 (W.D.N.Y. 2014) (“[T]he loss of Plaintiff’s reputation and

resulting inability to gain future employment are personal injuries and are not compensable under

RICO.”). Plaintiff’s contention that he suffered a domestic injury when he was discouraged from

pursuing his claims meets the same fate. See Burrowes v. Combs, 312 F. Supp. 2d 449, 452

(S.D.N.Y. Mar. 11, 2004) (finding that “delayed commencement of litigation to enforce

[plaintiff’s] rights” is not cognizable under RICO). Without a domestic injury to business or

property, Plaintiff lacks standing to pursue his RICO claims.4


3
  Certain courts have held that reputational harm resulting in “quantifiable and non-speculative”
business harm may constitute a cognizable RICO injury, e.g., Nygard v. Bacon, 2021 U.S. Dist.
LEXIS 157972, at *12-14 (S.D.N.Y. Aug. 20, 2021), but the SAC is devoid of allegations tying
Plaintiff’s alleged reputational harm to any quantifiable and non-speculative pecuniary loss.
4
  Plaintiff’s reliance on Commercial Cleaning Servs., L.L.C. v. Colin Serv. Sys., Inc., 271 F.3d 374
(2d Cir. 2001) and Lewis v. Lhu, 696 F. Supp. 723 (D.D.C. 1988) is unavailing. Opp. at 20. The

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               2.      The SAC Fails to Allege an Investment Injury or Acquisition Injury

       Plaintiff does not respond to SCIB’s argument that the SAC fails to allege an investment

injury under Section 1962(a) (Count I) or an acquisition injury under Section 1962(b) (Count II).

See Mem. at 18-19. These counts should accordingly be dismissed. See Dangelo v. Client Servs.,

2020 U.S. Dist. LEXIS 103296, at *10-11 (E.D.N.Y. June 11, 2020) (recommending claims be

deemed abandoned for plaintiff's failure to respond to arguments for dismissal), adopted in 2020

U.S. Dist. LEXIS 128619 (E.D.N.Y. July 21, 2020).

               3.      The SAC Fails to Allege a Pattern of Racketeering Activity

       SCIB showed in its Opening Brief that, taking all allegations in the light most favorable to

Plaintiff, the SAC does not adequately allege a pattern of racketeering activity. See Mem. at 19-

23. Plaintiff counters that the SAC pleads no fewer than nine predicate acts, see Opp. at 21, but,

as above, Plaintiff ignores the authorities cited in SCIB’s Opening Brief, see Mem. at 19-23,

showing that the alleged predicates are not plausibly pleaded.

                       a. Mail and Wire Fraud
       Plaintiff argues that he “has alleged the Mail and Wire Fraud allegations with the requisite

specificity by pleading the time, place, and content of the communications,” as well as the “parties

to the fraudulent communications,” Opp. at 24, but this is a mischaracterization of the SAC, which

is devoid of these essential details. See Mem. at 20. For example, Plaintiff contends that

“Defendants necessarily used the mails and wires to obtain the fraudulent red notice and/or

diffusion” against Bilalov, Opp. at 23, but the SAC does not specify which Defendant(s) used the

mails or wires or the contents of the alleged communications. Instead, the SAC merely alleges

that Defendants, acting through intermediaries, provided things of value to foreign officials on or


plaintiffs in these cases identified specific contracts and licenses that were lost due to alleged RICO
violations, whereas the SAC fails to allege any domestic, concrete economic harm.

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around March 4, 2018. See SAC ¶ 131. This is plainly insufficient under Rule 9(b). See Plount

v. Am. Home Assurance Co., 668 F. Supp. 204, 206 (S.D.N.Y. 1987) (“[A]ll of the concerns that

dictate that fraud be pleaded with particularity exist with even greater urgency in civil RICO

actions . . . .”).

         Plaintiff next highlights a series of “back channel” conversations that he initiated with

members of Defendants’ “inner circle” about five years after his putative shares were allegedly

misappropriated. See Opp. at 23. According to the SAC, after not having any contact with any

Defendant between 2014 and 2017, Plaintiff reached out to Kirill Androsov (whom the SAC

improperly refers to as a Defendant, see SAC ¶ 126) and Mr. Gref’s brother on multiple occasions

in 2018 and 2019. See SAC ¶¶ 132, 138, 141. Even if the SAC alleged the circumstances and

content of these calls with the requisite specificity—which it does not—the SAC fails to plausibly

allege how these calls, which Plaintiff initiated, furthered a scheme to defraud that allegedly

culminated years earlier. See Boritzer v. Calloway, 2013 U.S. Dist. LEXIS 11119, at *23

(S.D.N.Y. Jan. 24, 2013) (“[A]s a general rule, even where a complaint directly references various

wire or mail transactions, if the allegations of a scheme to defraud are themselves deficient, there

will be no plausible claim sounding in fraud—a necessary element of the RICO predicate act of

[wire fraud].”).

                        b. Hobbs Act Extortion
         Plaintiff argues that he has adequately alleged the elements of Hobbs Act extortion in light

of Defendants’ alleged efforts to cause Plaintiff to abandon his legal claims, see Opp. at 25, but

Plaintiff admits that he did not transfer property to Defendants. See id. As shown in the Opening

Brief, extortion under the Hobbs Act requires a showing that the defendant actually obtained

property from the plaintiff. See Mem. at 21 (citing Worldwide Directories, S.A. De C.V. v. Yahoo!,

Inc., 2016 U.S. Dist. LEXIS 44265, at *19 (S.D.N.Y. Mar. 31, 2016) (“The complaint fails to state

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a claim for extortion under [the Hobbs Act] because it does not allege that the Baker Defendants

obtained any property from Plaintiffs.”)). Plaintiff’s Hobbs Act predicate thus fails as a matter of

law.

                        c. Travel Act
        Plaintiff next argues that he has adequately pled the elements of the Travel Act by alleging

“with specificity that several members of the Defendants [sic] inner circle traveled from Russia to

the United States for the purpose of intimidate and extort [sic] Plaintiff.” Opp. at 25. As set forth

above, however, the SAC fails to state a violation of the Hobbs Act. Thus, Plaintiff’s Travel Act

predicate also fails.5 See FindTheBest.com, Inc. v. Lumen View Tech. LLC, 20 F. Supp. 3d 451,

460 (S.D.N.Y. 2014) (holding that plaintiff’s Travel Act predicate, which mirrored its Hobbs Act

predicate, failed in light of plaintiff’s failure to state an extortion claim). Moreover, as set forth in

the Opening Brief, Plaintiff’s Travel Act predicate is pled in conclusory fashion, simply parroting

the statutory elements of the offense, see SAC ¶ 184(h), and Plaintiff does not allege that any

Defendant travelled in interstate commerce or any “additional act” in furtherance of the specified

unlawful activity. See Mem. at 21-22.

                        d. Money Laundering
        Plaintiff argues that the SAC states a proper money laundering claim because Defendants

moved money obtained from Plaintiff through New York bank accounts. See Opp. at 26. But the



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  Plaintiff also suggests in passing that he has adequately pleaded a violation of the Travel Act
predicated on bribery under the Foreign Corrupt Practices Act (“FCPA”). See Opp. at 25. As with
the other alleged predicates, however, the SAC relies on sweeping, conclusory statements, such as
“Defendants, acting through intermediaries, provided money or things of value to foreign officials
to obtain and Interpol red notice and/or diffusion against Bilalov,” and is devoid of specifics about
the purported bribes that were provided, which foreign officials they were allegedly provided to,
and the nature of the unfounded accusations that were allegedly levied. See SAC ¶¶ 131, 179,
184(f). Moreover, any money laundering claim predicated on alleged violations of the FCPA, see
id. ¶ 184(f), fails for the additional reasons set forth in Section III.A.3.d, infra.

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mere movement of funds through a New York bank does not constitute money laundering. See

Casio Computer Co. v. Sayo, 1999 U.S. Dist. LEXIS 14675, at *55 (S.D.N.Y. Sept. 20, 1999),

adopted in 2000 U.S. Dist. LEXIS 15411 (S.D.N.Y. Oct. 13, 2000) (noting that an essential

element of money laundering is the defendant’s knowledge that the financial transaction was

designed to conceal or disguise the source or ownership of the laundered proceeds). And the

SAC’s conclusory allegation, made on information and belief, that the Defendants laundered the

proceeds of Plaintiff’s putative shares in order to avoid detection by authorities and circumvent

sanctions, SAC ¶ 119, amounts to nothing more than rank speculation. See Casio Computer Co.,

1999 U.S. Dist. LEXIS 14675, at *57 (dismissing money laundering predicate based on “sweeping

allegations” that merely offered “conclusory statements that defendants’ transactions were

conducted with the purpose of concealing ‘the nature, the location, the source, the ownership, or

the control of the proceeds of specified unlawful activity’”); Mem. at 22-23. Nor can Plaintiff’s

citation to Schansman et al., v. Sberbank et al., No. 1:19-cv-02985 (S.D.N.Y. Sept. 30, 2021), ECF

185, save these predicates, given that Schansman does not involve money laundering claims and

the transactions at issue in that lawsuit have nothing to do with the allegations here.

               4.      The SAC Fails to Allege a RICO Enterprise

       Citing Boyle v. United States, 556 U.S. 938 (2009), Plaintiff argues that he has sufficiently

pled an association-in-fact enterprise including Defendants and various third parties with the

shared objective of acquiring private companies by illegal means. See Opp. at 26-27. As shown

in SCIB’s Opening Brief, however, “[a] complaint which simply groups together the individuals

and entities involved in an alleged racketeering act and calls them an enterprise is not a RICO

enterprise.” Edmond v. Live Well Fin., Inc., 2019 U.S. Dist. LEXIS 208384, at *13 (S.D.N.Y.

Dec. 2, 2019), adopted in 2020 U.S. Dist. LEXIS 3253 (S.D.N.Y. Jan. 6, 2020); see also Mem. at



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23-24. The SAC alleges a RICO enterprise comprising Defendants, various associated “inner

circle” members and companies, and unidentified third-party currency dealers and money brokers.

See SAC ¶ 183. The conclusory naming of a string of individuals and entities, without identifying

their roles or any formal or informal organization, does not adequately allege a RICO enterprise.

           B.     The SAC Fails to State an Alien Tort Statute Claim

       Plaintiff appears to argue that he had pled a viable ATS claim against Defendants by virtue

of the SAC’s money laundering and Hobbs Act extortion RICO predicates. See Opp. at 28. But

SCIB showed in its Opening Brief that money laundering, which is the only misconduct in which

SCIB allegedly partook, is not actionable under the ATS. See Mem. at 25 (citing Nahl v. Jaoude,

2018 U.S. Dist. LEXIS 100056, at *14 (S.D.N.Y. June 14, 2018), aff’d 968 F.3d 173, 181 (2d Cir.

2020)). Plaintiff does not address this authority in his Opposition, nor does he offer any support

for the proposition that his (inadequately pled) Hobbs Act extortion claim is actionable under the

ATS. Moreover, to sufficiently plead an ATS claim against SCIB, a U.S. corporation (if such

claim exists at all), Plaintiff must plead more than “mere corporate presence” and “general

corporate activity” in the United States. Nestle USA, Inc. v. Doe, No. 19-416, 2021 U.S. LEXIS

3120, at *9 (June 17, 2021). The SAC does not do so here and, as a result, the ATS claim should

be dismissed as to SCIB.

           C.     The SAC Fails to State Any State Law Claims

       SCIB showed in its Opening Brief that Plaintiff’s litany of common law claims, including

fraud, conspiracy to commit fraud, conversion, unjust enrichment, and abuse of process, are

defective and require dismissal. See Mem. at 26-30. Although the Opposition contends, in a

heading, that these claims are “legally sustainable and adequately pled,” Opp. at 28, it does not

provide any analysis in support.



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          In any event, in addition to being time-barred, each of these claims is deficient as a matter

of law:

             Fraud and Conspiracy to Commit Fraud. In addition to engaging in impermissible
              group pleading, Plaintiff’s fraud claims warrant dismissal for failure to plead falsity,
              reasonable reliance by Bilalov on the alleged misrepresentations, or damages traceable
              to a misrepresentation. See Mem. at 26-27.

             Conversion and Unjust Enrichment. Without a possessory right in the allegedly
              converted shares, which the SAC concedes belonged to Plaintiff’s brother, see SAC ¶¶
              45, 79, Plaintiff’s conversion and unjust enrichment claims fail. Moreover, the SAC
              does not allege that SCIB (or any Defendants, for that matter) exercised unauthorized
              dominion over Plaintiff’s shares or were unjustly enriched at Plaintiff’s expense. See
              Mem. at 27-29.

             Malicious Abuse of Process. Initially, Plaintiff’s allegation that Defendants provided
              false information to Interpol and/or DHS, which in turn caused Plaintiff’s arrest, is
              conclusory. The SAC does not allege any facts about the false information that was
              supposedly provided, who provided it, or the circumstances of Plaintiff’s arrest (which
              public sources suggest related to Plaintiff overstaying his visa). See ECF 59, at 7, n.1.
              In addition, Plaintiff does not allege a collateral purpose beyond or in addition to
              Plaintiff’s arrest, which is the “crux” of a malicious abuse of process claim. See Mem.
              at 29-30.

   IV.        Leave to Amend Should Be Denied

          As Plaintiff’s case law makes clear, leave to amend should be denied where, as here, any

amendment would be futile. See Opp. at 29 (citing Friedl v. City of N.Y., 210 F.3d 79, 87 (2d Cir.

2000)). Plaintiff has already amended his complaint twice, added and dropped claims and

defendants, and benefitted from multiple rounds of pre-motion letters in which Defendants set

forth in meticulous detail Plaintiff’s various pleading deficiencies. Yet Plaintiff still cannot plead

a single viable claim against any Defendant, let alone allege any non-conclusory facts as to SCIB.

Given that the principal defects in Plaintiff’s pleading are substantive and, as a result, cannot be

cured with more artful or better framed pleadings, granting Plaintiff leave to amend his complaint

for a third time would be nothing more than a costly and prejudicial exercise in futility. See, e.g.,

Black v. Vitello, 841 Fed. App’x 334, 336 (2d Cir. 2021) (“Where it is apparent that the plaintiff


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can prove no set of facts in support of his claim – that “better pleading” cannot cure the deficiencies

– leave to amend should be denied.”); Hayes v. Dep’t of Educ. of N.Y., 20 F. Supp. 3d 438, 451

(S.D.N.Y. 2014) (“Even were the Court to grant [] leave to amend . . . that amendment would be

futile: it could not survive a motion to dismiss because it would be time-barred.”).

                                          CONCLUSION

       For the reasons stated above, and in SCIB’s prior pleadings and submissions, this Court

should grant the Motion to Dismiss the SAC in its entirety, with prejudice.



Dated: New York, New York
November 2, 2021

                                               Respectfully submitted,

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